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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 1:09-cr-00272-DAD-BAM-2
12                     Plaintiff,
13          v.                                        ORDER GRANTING MOTION TO DISMISS,
                                                      DISMISSING PETITION FOR WRIT OF
14   HUGO CESAR TOSCANO-CEZARES,                      HABEAS CORPUS UNDER 28 U.S.C. § 2241,
                                                      AND WITHDRAWING REFERENCE TO
15                     Defendant.                     THE FEDERAL DEFENDER’S OFFICE
16                                                    (Doc. Nos. 391, 394, 396)
17

18          On August 25, 2016, defendant filed a motion for clarification, requesting that the court

19   advise the Bureau of Prisons1 and the Reeves County Detention Center that his sentence in this

20   case was to run concurrently to a state sentence he was serving in the Santa Clara County Jail.

21   (Doc. No. 391.) On June 13, 2017, the government filed a motion to dismiss the petition for lack

22   of jurisdiction. (Doc. No. 394.)

23          One federal court has provided a detailed explanation of the jurisdictional issue posed by

24   the application now pending before this court:

25                  When a prisoner challenges the execution of a sentence, § 2241
                    governs. See Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996)
26                  (“A petition under 28 U.S.C. § 2241 attacks the execution of a
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        Defendant actually references the “Federal Board of Prison,” which the court takes to be simply
28   a typographical error.
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 1                  sentence rather than its validity . . . .” (citation omitted)). When he
                    challenges the validity of the sentence, § 2255 governs. See
 2                  McIntosh v. U.S. Parole Comm’n, 115 F.3d 809, 811 (10th Cir.
                    1997) (stating that § 2255 proceedings are used to collaterally
 3                  attack the validity of a sentence). This sounds simple enough.

 4                  But, this distinction can generate confusion when a prisoner claims
                    that a federal sentence should run concurrently with, rather than
 5                  consecutively to, another sentence. The reason for the confusion is
                    that this type of allegation can involve either the validity or
 6                  execution of the sentence, depending on how the claim is asserted.

 7                  For example, when a prisoner questions how he is to serve two
                    sentences, the claim will sometimes turn on whether the sentences
 8                  are to run consecutively or concurrently. Because the claim
                    involves how the inmate is to serve the sentences, § 2241 would
 9                  ordinarily govern. An example appeared in United States v. Miller,
                    594 F.3d 1240 (10th Cir. 2010). There the federal court imposed a
10                  sentence to run consecutively to a prior state sentence. Miller, 594
                    F.3d at 1241. The petitioner asked the federal court to designate the
11                  state prison as the place to serve the federal sentence. Id. That
                    would have made the sentences concurrent because the petitioner
12                  would have been receiving credit for both sentences at the same
                    time. Id. Because the petitioner was challenging only the place for
13                  service of the federal term, however, the court regarded the claim as
                    one involving execution of the sentence for purposes of § 2241.5.
14                  Id. at 1242.

15                  A different scenario exists when the inmate challenges the
                    correctness of the federal court’s action when it imposed the
16                  sentence. For example, the federal court may say that its sentence
                    will run consecutively to another sentence. The prisoner may
17                  disagree and argue that the federal court should have said that the
                    sentences would run concurrently, rather than consecutively. In this
18                  situation, the prisoner is challenging the validity of the sentence that
                    was imposed. This type of claim constitutes a classic challenge to
19                  the validity of the sentence and is ordinarily cognizable under §
                    2255, but not § 2241.
20
                    The threshold issue is which type of claim does Petitioner assert.
21

22   James v. Warden, FCI El Reno, Okla., No. CIV-13-641-HE, 2014 WL 1330015, at *4-5 (W.D.

23   Okla. Mar. 12, 2014), Report and Recommendation Adopted by 2014 WL 1328304 (W.D. Okla.

24   Mar. 28, 2014); see also Cohen v. United States, 593 F.2d 766, 770–771 (6th Cir. 1979) (claims

25   regarding the computation of sentencing credits are generally cognizable under § 2241); Winston

26   v. U.S. Attorney General, Civil Action No. 3:12CV172, 2013 WL 3967292 (E.D. Va. Aug. 1,

27   2013) (addressing the merits of a petition brought under § 2241 where petitioner’s claim was that

28   the BOP failed to properly credit time served in state custody toward his federal sentence).
                                                       2
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 1           Here, as a threshold matter, it is clear that the defendant is seeking to challenge the

 2   execution of the prison terms to which he was sentenced and whether he is receiving appropriate

 3   credits towards his federal sentence for the time he served in the Santa Clara County Jail. (Doc.

 4   No. 391.)2 While the sentencing court typically has jurisdiction over motions to contest the

 5   legality of a sentence, i.e., those brought under 28 U.S.C. § 2255, it is the court for the district in

 6   which defendant is being incarcerated which has jurisdiction over challenges to the manner of the

 7   sentence’s execution, i.e., those brought under 28 U.S.C. § 2241. Hernandez v. Campbell, 204

 8   F.3d 861, 864 (9th Cir. 2000); see also Harrison v. Ollison, 519 F.3d 952, 956 (9th Cir. 2008).

 9   Here, defendant is currently incarcerated in the Reeves Correctional Institution in Pecos, Texas.

10   Therefore, the court with jurisdiction to hear defendant’s claim with respect to the award of

11   sentencing credits appears to be the United States District Court for the Western District of Texas.

12   Because this court does not have jurisdiction over petitioner’s pending application, it will be

13   dismissed without prejudice to his filing of a § 2241 petition in the appropriate court following

14   his exhaustion of administrative remedies provided by the Bureau of Prisons.

15           For these reasons, the government’s motion to dismiss is granted and defendant’s motion

16   for clarification is dismissed without prejudice due to a lack of jurisdiction. (Doc. No. 394.) In

17   light of this order, the court withdraws the referral of this matter (Doc. No. 396) to the Federal

18   Defender’s Office.

19   IT IS SO ORDERED.
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         Dated:    October 18, 2017
21                                                        UNITED STATES DISTRICT JUDGE

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        The court notes that the judgment and commitment order entered following defendant’s
27   sentencing in this court provides that he was “committed to the custody of the United States
     Bureau of Prisons to be imprisoned for a total term of 149 months, to run concurrently to the state
28   sentence. (Doc. No. 255 at 2) (emphasis in original).
                                                      3
